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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA

         v.                                             No. 19-cr-10195-WGY

  HAOYANG YU, et al.


                   DEFENDANTS’ SUPPLEMENTAL SUBMISSION
                REGARDING PROPOSED WIRE FRAUD INSTRUCTIONS

       At the charge conference, earlier today, the Court indicated its intention to summarize the

prosecution’s wire fraud theory – that is, Defendants Haoyang Yu and Tricon MMIC, LLC,

engaged in a fraud scheme to obtain ADI’s confidential information and, then, go on to use or

“monetize” that information to enrich themselves.

       That theory, for reasons that the defense has previously explained, is legally erroneous and

stretches the meaning of wire fraud far beyond the bounds of an already sweeping criminal statute.

In short, wire fraud, as defined by 18 U.S.C. § 1343, criminalizes schemes to obtain property,

without regard for how such property may be later used (or whether it is ever used at all). The

crime is complete when the subject “property” is obtained. But, here, the charged wires have

nothing to do with the “obtaining” of ADI’s property.

       Nevertheless, if the Court remains inclined to permit the prosecution to proceed on that

theory, the defense requests that the Court make clear to the jury that its task is two-fold: the jury

must decide (1) whether the prosecution has proven beyond a reasonable doubt the facts underlying

its theory, as alleged in the indictment, and also (2) whether those facts, if proven, constitute wire

fraud, as the Court will define and explain the elements that offense.

       In other words, the Court should make clear in its final instructions to the jury that its


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description of the prosecution’s wire fraud “theory” is not meant to suggest that the “theory,” even

if proven, meets the elements of the wire fraud statute.

                                              Respectfully submitted,

                                              HAOYANG YU and
                                              TRICON MMIC, LLC

                                              by their attorneys,

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Dated: May 24, 2022




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants on May 24, 2022.

                                              /s/ Daniel N. Marx




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